                                      Exhibit 6A
                            June 26, 2014 Hearing Transcript




13-53846-tjt   Doc 6982-7    Filed 08/22/14   Entered 08/22/14 16:24:26   Page 1 of 5
                              UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION

         IN RE:     CITY OF DETROIT,   .                  Docket No. 13-53846
                    MICHIGAN,          .
                                       .                  Detroit, Michigan
                                       .                  June 26, 2014
                        Debtor.        .                  9:00 a.m.
         . . . . . . . . . . . . . . . .

                      HEARING RE. (#5259) STATUS CONFERENCE ON PLAN
                      CONFIRMATION PROCESS (RE. FIFTH AMENDED ORDER
                 ESTABLISHING PROCEDURES, DEADLINES AND HEARING DATES
                RELATING TO THE DEBTOR'S PLAN OF ADJUSTMENT. STATUS
                HEARINGS REGARDING PLAN CONFIRMATION PROCESS; (#5285)
                     CORRECTED MOTION TO QUASH SYNCORA'S SUBPOENA TO
                      DEPOSE ATTORNEY GENERAL BILL SCHUETTE FILED BY
                INTERESTED PARTY BILL SCHUETTE; (#5250) MOTION OF THE
                CITY OF DETROIT FOR SITE VISIT BY COURT IN CONNECTION
               WITH THE HEARING ON CONFIRMATION OF THE CITY'S PLAN OF
                    ADJUSTMENT FILED BY DEBTOR IN POSSESSION CITY OF
                    DETROIT, MICHIGAN; (#5300) JOINT MOTION TO QUASH
                    SUBPOENAS DUCES TECUM FILED BY INTERESTED PARTIES
                     A. PAUL AND CAROL C. SCHAAP FOUNDATION, CHARLES
                    STEWART MOTT FOUNDATION, COMMUNITY FOUNDATION FOR
                  SOUTHEAST MICHIGAN, HUDSON-WEBBER FOUNDATION, MAX M
                    AND MARJORIE S. FISHER FOUNDATION, MCGREGOR FUND,
                  THE FORD FOUNDATION, THE FRED A. AND BARBARA M. ERB
                  FAMILY FOUNDATION, W.K. KELLOGG FOUNDATION, WILLIAM
                   DAVIDSON FOUNDATION; (#5478) MOTION OF THE GENERAL
                        RETIREMENT SYSTEM OF THE CITY OF DETROIT TO
                      DESIGNATE AND DETERMINE ADDITIONAL LEGAL ISSUE
                       REGARDING METHODOLOGY FOR ASF RECOUPMENT FROM
                       RETIREES FILED BY CREDITOR GENERAL RETIREMENT
                    SYSTEM OF THE CITY OF DETROIT; (#5442) MOTION FOR
                      PROTECTIVE ORDER CITY OF DETROIT'S MOTION FOR
                      ENTRY OF A PROTECTIVE ORDER STRIKING SYNCORA'S
                       DEMAND IN ITS RULE 30(b)(6) DEPOSITION NOTICE
                   FOR THE PERSONAL FINANCIAL INFORMATION OF ALL CITY
                      RETIREES FILED BY DEBTOR IN POSSESSION CITY OF
                 DETROIT, MICHIGAN; (#5436) MOTION TO COMPEL FULL AND
                 FAIR RESPONSES TO SYNCORA'S INTERROGATORIES FILED BY
                  INTERESTED PARTIES SYNCORA CAPITAL ASSURANCE, INC.,
                                  SYNCORA GUARANTEE, INC.
                           BEFORE THE HONORABLE STEVEN W. RHODES
                            UNITED STATES BANKRUPTCY COURT JUDGE




13-53846-tjt   Doc 6982-7   Filed 08/22/14   Entered 08/22/14 16:24:26   Page 2 of 5
                                                                                       103

    1                THE COURT:      What other ways?

    2                MR. SHUMAKER:       I mean you can still make those

    3    arguments in a nonindividual way.              It's a collective personal

    4    hardship.     Your Honor can not believe that the retirees will

    5    suffer more than the other creditors, but you can argue that

    6    through the kinds of evidence that has already been provided

    7    to Syncora, and they would say, well --

    8                THE COURT:      Well, but that evidence only goes so

    9    far.     It doesn't describe all of the income of all of the
   10    retirees.     Some of them may have other jobs or other sources
   11    of income, and it says nothing about assets at all.

   12                MR. SHUMAKER:       That's true.      That information is not

   13    in those actuarial reports, but I do think that, you know --
   14    in terms of how I see the case, no, but this is not just any

   15    old case.     This is a case, as everyone has talked about --

   16                THE COURT:      Well, hold on.       Hold on.       There are lots
   17    of Chapter 11 cases where employees are dealt with

   18    differently than other creditors.
   19                MR. SHUMAKER:       Certainly.

   20                THE COURT:      Have any of those cases ever taken into
   21    account the greater needs of the employees compared to the
   22    needs of, for example, trade creditors --
   23                MR. SHUMAKER:       I'm not --
   24                THE COURT:      -- or bondholders?
   25                MR. SHUMAKER:       I'm not certain as I stand here, your




13-53846-tjt   Doc 6982-7   Filed 08/22/14   Entered 08/22/14 16:24:26   Page 3 of 5
                                                                                       104

    1    Honor, whether -- excuse me, your Honor, if I may.

    2                THE COURT:      Yes.    I mean I have to say that in the

    3    case law I'm familiar with where the issue is the business

    4    justification for whatever discrimination is in the plan is

    5    determined based on the business needs of the debtor, not the

    6    business or financial needs of the creditors.                   That's the

    7    distinction.

    8                MR. SHUMAKER:       I understand where you're coming

    9    from, your Honor.        I have consulted with Ms. Lennox, as you
   10    saw.     I think that the -- I can affirm that the city is not
   11    going to be standing on the personal hardship argument, so

   12    perhaps this is --

   13                THE COURT:      Well, I think that's the appropriate
   14    decision.     I'm going to -- I'm going to say here as

   15    unequivocally as I can that as a matter of law, creditors'

   16    needs is not an issue when it comes to determining unfair
   17    discrimination.        It's the business judgment of -- the

   18    business rationale of the debtor taking into account the
   19    debtor's needs that is critical.

   20                MR. SHUMAKER:       Understood, your Honor.           Now, with
   21    what I just -- my statement about what the city is not going
   22    to be relying on, I still have the concern about the personal
   23    and financial information.            I don't know whether Mr. Hackney
   24    is willing --
   25                THE COURT:      Well, let me ask you to pause, and let




13-53846-tjt   Doc 6982-7   Filed 08/22/14   Entered 08/22/14 16:24:26   Page 4 of 5
                                                                                         105

    1    me get back to Mr. Hackney because I did interrupt his

    2    argument to call on you for this question.                  Mr. Hackney, do

    3    you still need this?

    4                MR. HACKNEY:        No.

    5                THE COURT:       All right.       Then we will enter an order

    6    that you are withdrawing this request from the city.

    7                MR. HACKNEY:        In reliance on the Court's ruling.

    8                THE COURT:       In reliance on what I have held here

    9    today, absolutely.
   10                MR. HACKNEY:        Your Honor, I won't go on and on, but
   11    I would like somewhat of a brief opportunity to defend

   12    myself, though.

   13                THE COURT:       You may have that, sir.
   14                MR. HACKNEY:        This motion did not fairly describe to

   15    you the efforts that I took in that meet and confer to

   16    address the concerns of the city, and, in particular -- and
   17    Mr. Shumaker just did it again when he got up here today.                        He

   18    said they want all the retiree income for all 20,000 of them.
   19    That's not true.         What I told them in the meet and confer and

   20    what Mr. Arnault's e-mail says, if you read it, at the end
   21    the last two sentences were, "I said that I want to know what
   22    you know."         And I know that it's -- I know the substance
   23    we've resolved, but I wanted -- what I want to tell you is
   24    that I took steps on every point, relevance, privacy, burden,
   25    to address them.         There was never a substantive response




13-53846-tjt   Doc 6982-7    Filed 08/22/14    Entered 08/22/14 16:24:26   Page 5 of 5
